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                       and Live Nation Entertainment, Inc.
                   7
                   8
                   9                      UNITED STATES DISTRICT COURT
              10                        CENTRAL DISTRICT OF CALIFORNIA
              11
              12       MICHELLE STERIOFF, individually          Case No. 2:22-cv-09230-GW-GJS
                       and on behalf of all others similarly
              13       situated,
                                                                 DECLARATION OF TIMOTHY L.
              14                        Plaintiff,               O’MARA IN SUPPORT OF THE
                                                                 JOINT STIPULATION TO STAY
              15                                                 CASE
                       v.
              16                                                 [Civil Local Rule 7-1]
                       LIVE NATION ENTERTAINMENT,
              17       INC., and TICKETMASTER LLC,               The Honorable George H. Wu
              18                        Defendants.
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                                                                                    O’MARA DECLARATION
ATTORNEYS AT LAW
 SAN FRANCISCO
                                                                              CASE NO. 2:22-CV-09230-GW-GJS
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                   1 I, Timothy L. O’Mara, declare as follows:
                   2        1.     I am a partner at the law firm of Latham & Watkins LLP, counsel for
                   3 Defendants Ticketmaster L.L.C. and Live Nation Entertainment, Inc. (together,
                   4 “Defendants”). I am an attorney in good standing in the state of California, and I
                   5 am admitted to practice before this Court. I make this Declaration in support of the
                   6 parties’ Joint Stipulation to Stay Case (“Joint Stipulation”), and have personal
                   7 knowledge of the facts set forth below; if called upon to do so, I can and will
                   8 competently testify to these facts.
                   9        2.     Plaintiff filed the Complaint on December 20, 2022. ECF No. 1.
              10            3.     On January 3, 2023, pursuant to Local Rule 8-3, the parties jointly
              11 stipulated to extend Defendants’ time to answer or otherwise respond to the
              12 Complaint from January 11, 2023 to February 10, 2023. ECF No. 19.
              13            4.     On January 30, 2023, pursuant to the parties’ joint stipulation, the Court
              14 entered a briefing schedule for Defendants’ motion to compel arbitration and any
              15 related discovery: Defendants would file their motion on or before February 24,
              16 2023; Plaintiff would have until March 21, 2023 to serve any arbitration-related
              17 discovery; and the deadlines for Plaintiff’s Opposition and Defendants’ Reply would
              18 depend on the date of completion of any such discovery. ECF Nos. 24, 25.
              19            5.     On February 24, 2023, Defendants filed their motion to compel
              20 arbitration. ECF No. 26.
              21            6.     On March 16, 2023, Plaintiff filed the First Amended Class Action
              22 Complaint. ECF No. 37.
              23            7.     On May 15, 2023, pursuant to the parties’ joint stipulation, the Court
              24 entered a briefing schedule for the parties’ disputes regarding arbitration-related
              25 discovery. ECF Nos. 46, 47.
              26            8.     On June 29, 2023, the parties filed a Joint Submission Regarding
              27 Arbitration-Related Discovery. ECF No. 50. After a hearing on July 13, 2023, the
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                                                                                        O’MARA DECLARATION
ATTORNEYS AT LAW
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                   1 Court ordered that Plaintiff may conduct a deposition of Kimberly Tobias, not to
                   2 exceed two hours; allowed Plaintiff to serve five interrogatories regarding Plaintiff’s
                   3 Rule 30(b)(6) topics; and set a status conference for August 10, 2023. ECF No. 55.
                   4         9.    On August 7, 2023, pursuant to the parties’ joint stipulation, the Court
                   5 continued the status conference to September 21, 2023 at 8:30 am and the deadline
                   6 for a joint status report to September 18, 2023. ECF Nos. 58, 60.
                   7         10.   On August 11, 2023, Plaintiff served five interrogatories.
                   8         11.   Defendants previously moved to compel arbitration in a case before this
                   9 Court: Heckman v. Live Nation Entertainment, Inc., No. 2:22-cv-00047-GW-GJS
              10 (C.D. Cal.) (“Heckman”). On August 10, 2023, this Court denied Defendants’
              11 motion to compel arbitration in Heckman.
              12             12.   Defendants intend to appeal the order denying their motion to compel
              13 arbitration in Heckman and also intend to seek a stay in Barfuss v. Live Nation
              14 Entertainment, Inc., No. 2:23-cv-01114-GW-KK (C.D. Cal.) (“Barfuss”).
              15             13.   The parties have conferred and agree that, given that the outcome of the
              16 Heckman appeal could directly and materially impact this case if ultimately
              17 affirmed, and to preserve public and private resources, a temporary stay of this case
              18 is the most efficient path forward.
              19             14.   Further, the parties have agreed to continue their ongoing settlement
              20 discussions through mediation, which will be completed by no later than January 31,
              21 2024.
              22             15.   Accordingly, the parties respectfully request that the Court stay all
              23 proceedings and deadlines in this case. This jointly requested stay includes any and
              24 all pending discovery deadlines (including but not limited to the deposition of
              25 Kimberly Tobias and the deadline for Defendants to object and/or respond to
              26 Plaintiff’s Second Set of Interrogatories).
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                                                                                        O’MARA DECLARATION
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                   1        16.   The parties agree that this stipulated stay shall be lifted if one or more
                   2 of the following conditions are met:
                   3              a.     Either party provides notice to this Court that a mediation session
                   4                     has been completed and further settlement efforts will likely be
                   5                     futile;
                   6              b.     The Ninth Circuit issues a final mandate in the Heckman appeal;
                   7              c.     Any stay pending the Heckman appeal that is entered in Barfuss
                   8                     is lifted;
                   9              d.     Barfuss is remanded to state court and the state court denies any
              10                         motion by any party or stipulation by the parties to stay the case;
              11                         or
              12                  e.     Any action raising claims similar to those of Plaintiff is filed.
              13            17.   The Joint Stipulation is without prejudice to Defendants later moving
              14 for a stay in the event that (a) the Joint Stipulation is denied, or (b) the Joint
              15 Stipulation is granted, but the stay is lifted pursuant to Paragraph 16 above. For the
              16 avoidance of doubt, Defendants expressly reserve all rights to move for a stay of any
              17 and all proceedings and deadlines in this case pending the resolution of the Heckman
              18 appeal should the Joint Stipulation be denied, or if this stipulated stay is lifted, for
              19 any reason.
              20            18.   Within fourteen days after any of the conditions in Paragraph 16 are
              21 met, the parties shall submit a proposed scheduling order governing further
              22 proceedings in this action.
              23            19.   In the event that Defendants agree to terms or conditions in connection
              24 with any stipulation, agreement, or motion to stay a related action that are more
              25 favorable to the plaintiff(s) therein, those more favorable terms or conditions shall
              26 be deemed incorporated into the Joint Stipulation.
              27            20.   The parties have previously stipulated to five extensions of time:
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                                                                                        O’MARA DECLARATION
ATTORNEYS AT LAW
 SAN FRANCISCO                                                   3                CASE NO. 2:22-CV-09230-GW-GJS
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                   1         a.     On January 3, 2023, the parties stipulated pursuant to Local Rule
                   2                8-3 to extend Defendants’ time to answer or otherwise respond
                   3                to the Complaint. ECF No. 19.
                   4         b.     On January 30, 2023, the parties stipulated pursuant to Local
                   5                Rule 7-1 to a briefing schedule for Defendants’ motion to compel
                   6                arbitration. ECF No. 24.
                   7         c.     On March 2, 2023, the parties stipulated pursuant to Local Rule
                   8                7-1 that the March 27, 2023 hearing date should be vacated until
                   9                any arbitration-related discovery is complete. ECF No. 32.
              10             d.     On May 12, 2023, the parties stipulated pursuant to Local Rule
              11                    7-1 to a briefing schedule for the parties’ disputes regarding
              12                    arbitration-related discovery. ECF No. 46.
              13             e.     On August 3, 2023, the parties stipulated pursuant to Local Rule
              14                    7-1 to continue the August 10, 2023 status conference and the
              15                    August 8, 2023 joint status report deadline until after the
              16                    deposition of Kimberly Tobias. ECF No. 58.
              17       21.   The Joint Stipulation will have no other effect on the schedule.
              18
              19
              20       I declare under penalty of perjury that the foregoing is true and correct.
              21
              22       Executed on August 25, 2023.
              23                                                     /s/ Timothy L. O’Mara
              24                                                       Timothy L. O’Mara
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                                                                                   O’MARA DECLARATION
ATTORNEYS AT LAW
 SAN FRANCISCO                                              4                CASE NO. 2:22-CV-09230-GW-GJS
